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L.B.F. 3015.1-1

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF PENNSYLVANIA

in re: CaseNo: #2442204
oe
ANDREW ROBERT MCLELLAN

Chapter: 13 i

Debtors) i
Chapter 13 Plan

X Original
0

Amended

Date: 07/11/2024

THE DEBTOR HAS FILED FOR RELIEF UNDER
CHAPTER 13 OF THE BANKRUPTCY CODE

YOUR RIGHTS WILL BE AFFECTED

You should have received from the court a separate Notice of the Hearing on Confirmation of Plan, which
contains the date of the confirmation hearing on the Plan proposed by the Debtor. This document is the
actual Plan proposed by the Debtor to adjust debts. You should read these papers carefully and discuss
them with your attorney. ANYONE WHO WISHES TO OPPOSE ANY PROVISION OF THiS PLAN
MUST FILE A WRITTEN OBJECTION in accordance with Bankruptcy Rule 3015 and Local Rule 3015-5.
This Plan may be confirmed and become binding, unless a written objection is filed.

IN ORDER TO RECEIVE A DISTRIBUTION UNDER THE PLAN, YOU
MUST FILE A PROOF OF CLAIM BY THE DEADLINE STATED IN THE
NOTICE OF MEETING OF CREDITORS.

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X Pian contains non-standard or additional provisions — see Part 9
Pian limits the amount of secured claim(s) based on value of collateral

Plan avoids a security interest or lien

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§ 2(a)(1) Initial Plan:
Total Base Amount to be paid to the Chapter 13 Trustee ("Trustee") $
Debtor shall pay the Trustee $ per month for months; and

Debtor shall pay the Trustee $ per month for months.
Q Other changes in the scheduled plan payment are set forth in § 2(d)

§ 2(a)(2) Amended Plan:
Total Base Amount to be paid to the Chapter 13 Trustee ("Trustee") $
The Plan payments by Debtor shall consists of the total amount previously paid {($
added to the new monthly Plan payments in the amount of $ beginning
(date) for months,
O Other changes in the scheduled plan payments are set forth in § 2(d)

)

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§ 2(b) Debtor shall make plan payments to the Trustee from the following sources in addition to
future wages (Describe source, amount and date when funds are available, if known):

§ 2(c} Use of real property to satisfy plan obligations:
(1 Sale of real property
See § 7(c} below for detailed description

(3) Loan modification with respect to mortgage encumbering property:
See § 7(d) below for detailed description

§ 2(d) Other information that may be important relating to the payment and length of Plan:

EH LOLS ROC TLCe ACUI PSEC thom abd LLM Oe Onell

§ 3{a) Except as provided in § 3(b) below, all aliowed priority claims wil! be paid in full
unless the creditor agrees otherwise:

Creditor Type of Priority Estimated Amount to be Paid

§ 3(b) Domestic Support obligations assigned or owed to a governmental unit and paid
less than full amount.

X None. If None” is checked, the rest of § 3(b) need not be completed.

1 The allowed priority claims listed below are based on a domestic support obligation that has been
assigned to or is owed to a governmental unit and will be paid less than the full amount of the claim. This plan
provision requires that payments in § 2(a) be for a term of 60 months; see 11.U.S.C. § 4322{(a)(4).

Name of Creditor Amount of claim to be paid

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§ 4{a) Curing Default and Maintaining Payments
X None. If None” is checked, the rest of § 4{a} need not be completed,

The Trustee shall distribute an amount sufficient to pay allowed claims for prepetition arrearages; and, Debtor
shall pay directly to creditor monthly obligations falling due after the bankruptcy filing.

Creditor Description of Regular Monthly | Estimated Interest Rate | Amountto be
Secured Payment to be Arrearage on Arrearage, | Paid to
Property and pald directly to if applicable Creditor by
Address, if rea! creditor by the Trustee
property Debtor

§ 4(b) Allowed Secured Claims to be Paid in Full: Based on Proof of Claim or Pre-
Confirmation Determination of the Amount, Extent or Validity of the Claim

X None, if "None’ is checked, the rest of § 4(b) need not be completed.
(1) Allowed secured claims listed below shall be paid in full and thelr liens retained until completion of
payments under the plan.

(2} If necessary, a motion, objection and/or adversary proceeding, as appropriate, wiil be filed to
determine the amount, extent or validity of the allowed secured claim and the court will make its determination
prior to the confirmation hearing.

(3) Any amounts determined to be allowed unsecured claims will be treated either: (A) as a general
unsecured claim under Part 5 of the Plan or (8) as a priority claim under Part 3, as determined by the court.

(4) In addition to payment of the allowed secured claim, “present value" interest pursuant to 11 U.S.C.
§ 1325(a}(5)(B)(il) will be paid at the rate and in the amount listed below. If the claimant included a different
interest rate or amount for “present value” interest in its proof of claim, the court will determine the present value
interest rate and amount at the confirmation hearing.

(5) Upon completion of the Plan, payments made under this section satisfy the allowed
secured claim and release the corresponding Hen.

Description of

Name of Creditor Secured Property Allowed Present | Dollar Amount | Total
and Address, ifreal | Secured Value of Present Amount to
property Claim Interest | Value Interest be paid

Rate

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§ 4(c) Allowed secured claims to be paid in full that are excluded from 11 U.S.C. § 506
X None. if None’ is checked, the rest of § 4{c) need not be completed.

The claims below were either (1) incurred within 910 days before the petition date and secured by a
purchase money security interest In a motor vehicle acquired for the personal use of the debtor(s), or (2)
incurred within 1 year of the petition date and secured by a purchase money security interest in any other thing
of value.

(1) The allowed secured claims listed below shall be paid in full and their liens retained until completion
of payments under the plan.

(2) In addition to payment of the allowed secured claim, “present value” interest pursuant to 11 U.S.C.
§ 1325(a)(5)(B) (ii) will be paid at the rate and in the amount listed below. ifthe clalmant included a different
interest rate or amount for “present value” interest in its proof of claim, the court will determine the present vaiue
interest rate and amount at the confirmation hearing.

Name of Creditor Collateral Amount of Present Value Estimated total payments
Claim interest
% $
% $

§ 4(d} Surrender
X None. if"None’ is checked, the rest of § 4(d) need not be completed.

(1) Debtor elects to surrender the secured property listed below that secures the creditor's claim.

__ (2) The automatic stay under 11 U.S.C. § 362(a) with respect to the secured property terminates
confirmation upon

of the Pian.

(3) The Trustee shall make no payments to the creditors listed below on their secured claims.

Creditor Secured Property

FeV a see Satter ere Oo de

§ 5(a) Specifically Classified Allowed Unsecured Non-Priority Claims
X None. |f “None” Is checked, the rest of § 5(a) need not be completed.

Basis for Separate
Creditor Classification Treatment Amount of Amount to
Claim be paid

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§ 5(b) All Other Timely Filed, Allowed General Unsecured Claims
(1) Liquidation Test (check one box)
0 All Debtor(s) property is claimed as exempt.

O Debtor(s) has non-exempt property valued at $ for purposes of § 1325(a)(4)

(2} Funding: § 5(b) claims to be paid as follows (check one box):
1 Pro rata

{1 100%
0 Other (Describe)

area Mae = Ccretige a mere er eee Meh eek mest Lora

X None. If “None” is checked, the rest of § 6 need not be completed.

Creditor Nature of Contract or Lease Treatment by Debtor Pursuant to §365(b)

for: pa ee Ol tits) mereka (ent

§ 7(a) General Principles Applicable to The Plan

{1} Vesting of Property of the Estate (check one box)
O Upon confirmation
(] Upon discharge

(2) Unless otherwise ordered by the court, the amount of a creditor's claim listed in its proof of claim
controls ever any contrary amounts listed in Parts 3, 4 or 5 of the Plan.

(3) Post-petition:contractual payments under § 1322(b}(5} and adequate protection payments under §
4326(a)(1)(B),(C) shall be disbursed to the creditors by the Debtor directly. Ail other disbursements to
creditors shail be made by the Trustee.

(4) If Debtor is successful in obtaining a recovery in a personal injury or other litigation in which Debtor is
the plaintiff, before the completion of plan payments, any such recovery in excess of any applicable exemption will
be paid to the Trustee as a special Plan payment to the extent necessary to pay priority and general unsecured
creditors, or as agreed by the Debtor and the Trustee and approved by the court,

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§ 7(b) Affirmative Duties on Holders of Claims secured by a Security Interest In Debtor’s
Principal Residence

(1) Apply the payments received from the Trustee on the pre-petition arrearage, if any, only fo such
arrearage.

(2) Apply the post-petition monthly mortgage payments made by the Debtor to the post-petition mortgage
obligations as provided for by the terms of the underlying morigage note.

(3) Treat the pre-petition arrearage as contractually current upon confirmation for the Plan for the sole
purpose of precluding the imposition of late payment charges or other default-related fees and services based on
the pre-petition default or default(s). Late charges may be assessed on post-petition payments as provided by the
terms of the mortgage and note.

(4) fa secured creditor with a security interest in the Debtor's property sent regular statements to the
Debtor pre-petition, and the Debtor provides for payments of that claim directly to the creditor in the Plan, the
holder of the claims shall resume sending customary monthly statements.

(5) ifa secured creditor with a security interest in the Debtor's property provided the Debtor with coupon
books for payments prior to the filing of the petition, upon request, the creditor shall forward post-petition coupon
book(s) to the Debtor after this case has been filed.

(6) Debtor waives any violation of stay claim arising from the sending of statements and coupon
books as set forth above.

§ 7{c) Sale of Real Property
X None. If "None” is checked, the rest of § 7(c) need not be

completed.
(1) Closing for the sale of (the “Real Property”) shall be completed
within months of the commencement of this bankruptcy case {the "Sale Deadline’}. Unless otherwise

agreed by the parties or provided by the Court, each allowed claim secured by the Real Property will be paid in full
under §4(b)(1) of the Plan at the closing (“Closing Date”).

(2) The Real Property will be marketed for sale in the following manner and on the following terms:

(3) Confirmation of this Plan shall constitute an order authorizing the Debtor to pay at settlement all
customary closing expenses and all liens and encumbrances, including all § 4(b) claims, as may be necessary to
convey gaod and marketable title to the purchaser. However, nothing in this Plan shall preclude the Debtor from
seeking court approval of the sale of the property free and clear of liens and encumbrances pursuant to 11 U.S.C.
§363(f), either prior to or after confirmation of the Plan, if, in the Debtor's Judgment, such approval is necessary or
in order to convey insurable title or is otherwise reasonably necessary under the circumstances to Implement this
Pian.

(4) Debtor shall provide the Trustee with a copy of the closing settlement sheet within 24 hours of the
Ciosing Date.

(5) In the event that a sale of the Real Property has not been consummated by the expiration of the Sale
Deadiine:

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§ 7(d) Loan Modification
X None. !f “None” is checked, the rest of § 7(d) need not be
completed.

(1) Debtor shall pursue a loan modification directly with or its successor in interest or its
current servicer (“Mortgage Lender’), in an effort to bring the loan current and resolve the secured arrearage claim.

(2) During the modification application process, Debtor shail make adequate protection payments directly to
Mortgage Lender in the amount of $ per month, which represents (describe
basis of adequate protection payment). Debtor shall remit the adequate protection payments directly to the
Mortgage Lender,

(3) If the modification is not approved by (date}, Debtor shall either (A) file an amended Plan to
otherwise provide for the allowed claim of the Mortgage Lender; or (B} Mortgage Lender may seek relief from the
automatic stay with regard to the collateral and Debtor will not oppose it.

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The order of distribution of Plan payments wiil be as follows:

Level 1: Trustee Commissions*

Level! 2: Domestic Support Obligations

Level 3: Adequate Protection Payments

Level 4: Debtor's attorney's fees

Level 5: Priority claims, pro rata

Level 6: Secured claims, pro rata

Level 7: Specially classified unsecured claims

Level 8: General unsecured claims

Level 9: Untimely filed, allowed general unsecured claims

*Percentage fees payable to the standing trustee will be paid at the rate fixed by the United States Trustee
not fo exceed ten (10) percent.

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None, if “None” is checked, the rest of § 9 need nat be completed.

In accordance with and presented under authority of HJR 192 of 5 June 1933, Public Law 73-10, UCC § 3-419, UCC § 3-
104(c), and Registered Adjustment of Account; Trustee/Bailor/Secured Party-Creditor on behalf of the Estate hereby issue
Letter of Advice and Bill Of Exchange for the following accounts for Full Discharge, Settlement, and Restoration of the Record.

Each Bill Of Exchange listed value totals; declared account payment in full (listed below), 1 additional monthly payment to
cover daily pro rata expenses through to end of July, month 07 - 08, (where applies), 10% processing/servicing fee for The
Office of the Trustee, and 16% processing/servicing fee for The Eastern District of Pennsylvania, United States Bankruptcy
Court. Copies of the B.O.E. have been attached to this Payment Plan. As Fiscal Agent for The United States of America,
B.O.E. originais have been delivered directly to the Judge's Chambers, guaranteeing Safe Passage to The United States
Treasury.

if additional claims arise or listed claim amounts are incorrect, supplemental BOE will be issued by the Trustee/Bailor/
Secured Party-Creditor on behalf of the Estate which will include 10% processing/servicing fee for OOTT and USBC.

BOE #1
1. Navy Federal Credit Union — Account #8029225409 — $2,471,404.00
2. Navy Federal Credit Union — Account #8032656863 - $496,801.00

Total $2,968,205,60 + $296,820.50 + $296,820.50 = $3,561,846.00

BOE #2
. Huntington Bank — Account #20-200062643430 — $25,000,00
Internal Revenue Service — Account # *****0710 ~ $250,000.00

Amelia Investors — $376,265.00

Deni Carise ~ $585,499.00

Capital One — Account # 7777277? — $2,500.00
PECO — Account #9026529000 — $12,034.00
PECO — Account #3815114000 — $2,665.00

NOORWONS

Total $662,698.00 + $60,270.00 + $60,270.00 = $723,238.00
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$ 3,561,846.00 $3,561,846.00
BILL OF EXCHANGE
Bill of Acceptance - Time Draft
McLellan, Andrew, Trustee/Bailor/Secured Party - Creditor Date: June 26", 2024
c/o PA Debtor Index Fite # il
4169 Whitehorse Road
PENNSYLVANIA U.S.A. [19365] a

To: . Seoretary of the Treasury, Department of the Treasury Bank- Ledgar # 00000518

On or by JULY 12", 2024, Credit the account of the fiduclary/fiscal agent, NAVY FEDERAL GREDIT UNION., o

as Ballea for LOAN # 8029225409 & 8032656863

(THREE MILLION, FIVE HUNDRED SIXTY-ONE THOUSAND, EIGHT HUNDRED AND FORTY-SIXTY DOLLARS AND
ZERO CENTS) U.S, Notes “?
wk
Parsonal Direct Treasury (UCC Contract) Trust Account # RA 640 239.677 US ve
The obligation of the Drawee (acceptor), Secretary of the Treasury, through the Ballee (authorized fiduciary agent for
the Commonwealth of Pennsylvania} of Claimant’s financial institution, hereof arises out of the want of consideration
for the pledge and by the redemption of the pledge under Pubic Resolution HIR 192 of § June 1933, now Public Law
73-10, UGG § 3-419, UCCS 3-104(c), Spencer v Sterling Bank, 63 Cat App. 4" 1055 (1998), Guaranty Trust Co of New
Yarkv Henwood et al. 89S. Ct 647, and Witkin Negotiable Instruments, Vol 3 (2001 Supplement) onthe
undetsigned’s UCC Contract Trust Account, represented by the attached Clalrm/payment plan agreement

2

Accepted for Value and bearing the account number # agcan?

Wa

This Claim document Is hereby surrendered to Claimant as said pladge is redeemed and (discharged) by the drawer
through the attached document of Acceptance for Value and Exempt from Levy. The Claimant’s financial institution is
to accept this bill, sign and present It directly via Gertifled or Registered mall, Return Recelpt to the Secretary of the
‘Treasury-Department of the Treasury. Unless the orginal Negotlable Instrument is dishonored in writing within (78)
days of receipt by the Secretary of the Treasury, Clalmant’s financial institution Is to ralease the cradit to the payee
within the time stipulated pursuant to Regulation “Z”, Truth in Lending Act or on the date designated, whichever Is
later, The amount of this Accepted Draft Is to be credited by Clatmant’s financtat institution to the designated account
and discharge of this claim fifteen (15) days after receipt by the Federal Window (Regulation Z).

NOTICE: The law relating to Princlpal and Agent applies and those between Bailor and Ballee. The Fiduciary Trustee
below is authorized to execute lagal doquments pertaining to fiduciary matters before Chester County and
authorized ta receive and collect any sums due or owlng to the trust of the estate held by the named person above
and enter satisfaction in any Court of Record In Chester County, Pennsylvania or eny other County alsewhere,

hy

By: _
Bailee'’s signature (authorized agent)
Accepted at (United States Bankruptcy Court) vy
601 Market Street, Pennsylvania 19106 1
ATTN:pAmy-Chan, Fiduciary TTEE

AuthOrized by the United States of America, Secretary of Tre! sry '
sLt4

GMil steers

Recourse,

out
Document Copies...filed with the DIB and Clerk of Court-Orphans’ Court,

$ 3,561,846.00 $3,561,846.00

WTSTU TTT OO DE OC Desc Man |
BILL OF EXCHANGE
Bill of Acceptance - Time Draft

$ 723,238.00 $723,238.00

| McLellan, Andrew, Trustee/Ballor/Secured Party - Creditor Pate: June 26, 2024
c/o PA Debtor Index File 4 ia O
4169 Whitehorse Road 48

F

PENNSYLVANIA U.S.A. {19955] :

To: Secretary of the Traasury, Department of the Treasury Bank- Ledger # 00000818 os
: tof :

On or by JULY 12", 2024, Credit the account of the fiduclary/flacal agant, U.S. Bankruptey Court, as Ballee ,

" Peay

(SEVEN HUNDRED TWENTY-THREE THOUSAND, TWO HUNDRED AND THIRTY-EIGHT DOLLARS AND ZERO “3

CENTS) U.S. Notes ,

Ne ot

Personal Direct Treasury (UCC Contract) Trust Account # R.A 440 349 Gat US

The obligation of the Drawee (accaptor}, Secretary of the Treasury, through the Ballea (authorized fiscal agant for the
United States Treasury), hereof arises out of the want of consideration for the pledge and by the redemption of the

| pledge under Public Resolution HJR 192 of § June 1933, now Public Law 73-10, UCC 83-449, UCG5 3-l04(c), Spencer
v Sterling Bank, 63 Cal App, 4” 1055 (1998), Guaranty Trust Co of New York v Henwood et al. 59 8, Ct 847, and
Witkin Negotiable Instruments, Vol $ (2001 Supplement) onthe undersigned’s UCC Contract Trust Acoount,
represented by the attached BK payment ptan agreement Accepted for Value and bearing the account numbers
herein annexed,

This Claim document Is hereby surrendered to fiscal agent, as said pledge is redeemed and (discharged) by the
drawer through the attached document of Acceptance for Value and Exernpt from Levy, The Fiscal Agente’ financial
institution Is to accept this bal, sign and present it directly via Certified or Registered mail, Return Receipt to tha
Secretary of the Treasury-Departmant of the Treasury. Uniess the original Negotiable instrument is dishonored In
writing within (15) days of raceipt by the Secretary of the Treasury, Fiscal Agents’ financial institution ig to release the
credit to the payee within the time stipulated pursuant te Regutation "Z”, Truth in Lending Act or on the date
designated, whichever Is later. The amount of this Accapted Draft is to be credited by Fiscal Agente’ financial
institution to the designated accounts and discharge of all claims fifteen {15} days after recelpt by the Federal
Window (Regulation 2).

NOTICE: The (aw relating to Principal and Agent applies and those between Baltor and Bailes. Tha Fiduolary Trustee
below is authorized to execute legal documents pertaining to fiduciary matters before United Statea Bankruptcy
Court and authorized to receive and collect any sums due or owing to the trust or the estate hald by the named
parson above and enter satisfaction In any Court of Racord in Pannsylvania or any other County elsewhere.

oe

By:
Bailee’s signature (authorized agent}
Accepted at (United States Bankruptcy Court)
601 Market Street, Pennsylvania 19106 :
ATTN; Chan, Fiduciary TTEE \
Autbérized by the United States of America, Secretary of Treasury

G MW Ghixf /s/ fe ba te ~~ , Trastee/ Bailor/Secured Party - Creditor
' f  Nitnout Recourse, All Rights Reserved

Document Copies...filed with the DTB and Clerk of Court-Orphane’ Court,
§ 723,238.00 $723,238.00

ENTRY OF DEPOSIT for PAYMENT PLAN - Case No.

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Under Bankruptcy Rule 3015(c}, nonstandard or additional plan provisions are required to be set forth in Part 9
of the Plan. Such Plan provisions will be effective only if the applicable box in Pari 1 of this Plan is checked.
Any nonstandard or additional provisions set out other than in Part 9 of the Plan are VOID. By signing below,

attorney for Debtor(s) or unrepresented Debtor(s) certifies that this Plan contains no nonstandard or additional
provisions other than those in Part 9 of the Plan.

Date:

Attorney for Debtor(s)

If Debtor(s) are unrepresented, they must sign below.

On behaif of the peneficary McLellan, andrew
ANDREW McLELLAN LIVING ESTATE TRUST

All Rights Reserved, Without Prejudice and Without
Recourse

Date:

